        Case:18-10965-TBM Doc#:49 Filed:03/14/18                              Entered:03/14/18 22:34:43 Page1 of 2
                                               United States Bankruptcy Court
                                                   District of Colorado
In re:                                                                                                     Case No. 18-10965-TBM
11380 SMITH RD LLC                                                                                         Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 1082-1                  User: spressera                    Page 1 of 1                          Date Rcvd: Mar 12, 2018
                                      Form ID: pdf904                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Mar 14, 2018.
db             +11380 SMITH RD LLC,   11380 Smith Road,   Aurora, CO 80010-1406

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS *****
NONE.                                                                                                               TOTAL: 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Mar 14, 2018                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on March 12, 2018 at the address(es) listed below:
              Daniel J. Morse    on behalf of U.S. Trustee   US Trustee daniel.j.morse@usdoj.gov
              Jeffrey Weinman     on behalf of Debtor   11380 SMITH RD LLC jweinman@epitrustee.com,
               lkraai@weinmanpc.com;lkraai@ecf.courtdrive.com
              Robert Samuel Boughner    on behalf of U.S. Trustee   US Trustee Samuel.Boughner@usdoj.gov
              Scott Calvin James    on behalf of Creditor   11380 East Smith Rd Investments, LLC
               scott.james@moyewhite.com, brooke.somerville@moyewhite.com
              Timothy M. Swanson    on behalf of Creditor   11380 East Smith Rd Investments, LLC
               tim.swanson@moyewhite.com, audra.duzenack@moyewhite.com;Melissa.dymerski@moyewhite.com
              US Trustee   USTPRegion19.DV.ECF@usdoj.gov
                                                                                             TOTAL: 6
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                            UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF COLORADO
                              Bankruptcy Judge Thomas B. McNamara


    In re:
                                                      Bankruptcy Case No. 18-10965 TBM
    11380 SMITH RD, LLC,
                                           Chapter 11
    Debtor.
   ______________________________________________________________________________

           ORDER AND NOTICE OF ADDITIONAL MATTERS TO BE HEARD
   ______________________________________________________________________________

           THIS MATTER comes before the Court in connection with the Status Conference
   scheduled to commence before Judge Thomas B. McNamara on Friday, March 23, 2018, at
   3:00 p.m. in Courtroom E, United States Bankruptcy Court, U. S. Custom House, 721 19th
   Street, Denver, Colorado. The Court hereby

           ORDERS that the following matters will be heard in addition to the already scheduled
   matter: “Application to Employ CBRE, Inc. as Brokerage Firm for the Estate” filed by Debtor
   and the Objection thereto filed by 11380 East Smith Road Investments, LLC (Docket Nos. 14
   and 31).

           NOTICE IS FURTHER GIVEN that at the time of the hearing, the Parties shall be
   prepared to discuss the status and schedule of the case, present any legal issues related to the
   Application to Employ, and advise the Court whether any factual issues require resolution
   through an evidentiary hearing. If an evidentiary hearing is required, the parties shall be prepared
   to advise the Court regarding the discovery needed and time required to conduct such discovery,
   the amount of time required for an evidentiary hearing, and the number of witnesses they
   anticipate they will need to call. If it is necessary to receive evidence to resolve the matter, the
   scheduled hearing may be used as a scheduling conference and the matter will be reset to a later
   date. Counsel/parties shall bring their calendars and be prepared to schedule any further hearing
   as required.

             DATED this 12th day of March, 2018.
                                                        BY THE COURT:

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                                                        Thomas B. McNamara
                                                        U i d States
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                                                                     Bankruptcy C
                                                                                Court  J d
                                                                                       Judge
